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                             Exhibit 9




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 1                   UNITED STATES DISTRICT COURT
 2                  CENTRAL DISTRICT OF CALIFORNIA
 3                         WESTERN DIVISION
 4        _________________________________
                                            )
 5        YUGA LABS, INC.,                  )CASE NO.:
                                            )
 6                          Plaintiff,      )2:18-cv-00514-
                                            )ACA'22-cv-04355-
 7                  v.                      )JFW-JEM
                                            )
 8        RYDER RIPPS, JEREMY CAHEN, DOES )
          1-10,                             )
 9                                          )
                            Defendants.     )
10                                          )
          _________________________________)
11
12
13             ** THIS TRANSCRIPT IS MARKED CONFIDENTIAL -
14                       ATTORNEYS' EYES ONLY **
15
16
17                         DEPOSITION OF RYDER RIPPS
18                                 VOLUME I
19                          LOS ANGELES, CALIFORNIA
20                        THURSDAY, JANUARY 12, 2023
21
22
23
24        REPORTED BY:       NATALIE PARVIZI-AZAD, CSR, RPR, RSR
                             CSR NO. 14125
25        JOB NO.:           5613911

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 1        that's this logo, but if it is, it's also within the      10:41:43

 2        commentary of the artwork, RR/BAYC.                       10:41:48

 3                   But another thing that -- my understanding     10:41:53

 4        is that that particular logo, the skull logo, is          10:42:01

 5        actually -- it's allowed to be used by anyone in the      10:42:04

 6        ApeCoin DAO is my understanding.                          10:42:11

 7                   And the ApeCoin DAO, it's a fraud, but         10:42:14

 8        it's supposed to be a Caymen Islands Foundation.          10:42:17

 9        And through a transfer, anyone who is a member of         10:42:20

10        the ApeCoin DAO is allowed to use that skull.        So   10:42:25

11        perhaps whoever set that as a favicon, which is not       10:42:28

12        me, I actually did the web design, but I didn't set       10:42:31

13        the favicon.                                              10:42:33

14                   And I actually don't have access to the        10:42:34

15        servers or anything like that, so...       But whoever    10:42:36

16        did that set that -- maybe Ryan or something like         10:42:39

17        that -- if he owns ApeCoin, I think that's -- I           10:42:42

18        think that that is fine because it's -- he as a           10:42:45

19        member of the ApeCoin DAO -- I don't know if he set       10:42:49

20        it.   I don't know who set it.    Maybe the domain        10:42:52

21        registrar set it.   I'm not sure but perhaps --           10:42:55

22        perhaps -- perhaps they're in the ApeCoin DAO.            10:42:58

23              Q.   Are you in the ApeCoin DAO?                    10:43:05

24              A.   I own one ApeCoin.    I don't really           10:43:06

25        understand -- I think the phrase "DAO" is -- is,          10:43:19

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 1        like, sort of fraudulent jargon, but I did go to             10:43:21

 2        Apecoin.com which says if I'm in the ApeCoin DAO,            10:43:30

 3        I'm free to use -- to use this, the skull logo,              10:43:33

 4        because the Yuga Labs has transferred their                  10:43:45

 5        intellectual property -- their supposed intellectual         10:43:47

 6        property to the ApeCoin DAO.     All this is                 10:43:54

 7        fraudulent, by the way, but...                               10:43:55

 8                  All what Yuga Labs is doing is fraudulent,         10:43:58

 9        by the way, but that's my understanding.                     10:44:00

10             Q.   Are you aware that the skull logo in the           10:44:03

11        favicon on the RRBAYC.com website has been removed?          10:44:06

12             A.   I am aware of that.                                10:44:11

13             Q.   When did that happen?                              10:44:12

14             A.   I don't remember.                                  10:44:13

15             Q.   Approximately.                                     10:44:15

16             A.   I honestly don't remember.      I think I          10:44:16

17        asked for it to be removed because I didn't put it           10:44:24

18        there in the first place.                                    10:44:26

19             Q.   Who did you ask for it to be removed?              10:44:27

20             A.   I think I just said it into the -- if I            10:44:30

21        remember correctly, the chat, but I asked for it to          10:44:33

22        be removed because I thought it was -- it's ugly,            10:44:39

23        and I don't even know what I was looking at.         16 by   10:44:43

24        16 -- if you design a favicon, it's good to design           10:44:47

25        it well, and you want it to be legible.         And that     10:44:51

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